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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

__________________________________________
                                                    )
JASON LEOPOLD, et al.,                              )
                                                    )
              Plaintiffs,                           )
                                                    )
              vs.                                   )      1:15-cv-00999 (APM)
                                                    )
NATIONAL SECURITY AGENCY, et al.,                   )
                                                    )
              Defendants.                           )
                                                    )

                                  JOINT STATUS REPORT

       Plaintiffs Jason Leopold and Alexa O’Brien (collectively “Plaintiffs”) and Defendants

United States National Security Agency (“NSA”), United States Department of Homeland

Security (“DHS”), United States Department of Justice (“DOJ”), United States Department of

Defense (“DOD”), Central Intelligence Agency (“CIA”), and United States Department of State

(“DOS”) (collectively “Defendants”), by and through their undersigned counsel, respectfully

submit the following joint status report pursuant to the Court’s Order of January 20, 2016 (ECF

No. 14) and the Minute Order of March 31, 2020.

       On August 9, 2015, Plaintiffs filed an Amended Complaint (ECF No. 6) related to 18

different Freedom of Information Act (“FOIA”) requests sent to 19 Defendant agencies or

components thereof. 1 According to the Amended Complaint, the FOIA requests focus on Jacob



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 The 19 Defendant agencies and components that are subject to these requests are the NSA,
DHS-Cybersecurity and Infrastructure Agency (formerly National Protection and Programs
Directorate), DHS-Privacy Office, DHS-Office of Policy, DHS-Science and Technology
Directorate, DHS-Transportation Security Administration, DHS-Office of Operations
Coordination, DHS-Office of Intelligence and Analysis, DHS-United States Secret Service,
DHS-U.S. Customs and Border Protection, DHS-U.S. Immigration and Customs Enforcement,
DHS-U.S. Citizenship and Immigration Services, DOJ-Federal Bureau of Investigation, DOJ-


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Appelbaum, “an American security expert and journalist.” Am. Compl. ¶29. The requests,

however, seek a total of 288 separate categories of records. Over the course of several months,

the parties met and conferred, and Plaintiffs agreed to withdraw three of the original requests and

to clarify and narrow the scope of certain other requests to records of most interest to Plaintiffs.

       As previously explained, all agency components have completed their processing of

Plaintiffs’ FOIA requests: (1) DHS-U.S. Immigration and Customs Enforcement; (2) DHS-

Cybersecurity and Infrastructure Security Agency (formerly National Protection and Programs

Directorate); (3) DHS-Science and Technology Directorate, (4) DHS-Office of Intelligence and

Analysis; (5) DHS-Office of Operations Coordination; (6) DHS-Transportation Security

Administration; (7) DHS-U.S. Citizenship and Immigration Services; (8) DHS-U.S. Customs and

Border Protection; (9) DHS-United States Secret Service; (10) DOD-Army; (11) DOD-Defense

Intelligence Agency; (12) DOJ-Criminal Division; (13) NSA, (14) the Federal Bureau of

Investigation, (15) Department of State, (16) CIA, (17) DOJ-National Security Division, and (18)

DHS Headquarters component offices (which include DHS Policy and DHS Privacy Office).

See ECF No. 40.

       As explained in the last status report, the parties have conferred. Plaintiffs are not

challenging the responses of the following components: (1) DHS-National Protection and

Programs Directorate; (2) DHS-Science and Technology Directorate, (3) DHS-Office of

Intelligence and Analysis, (4) DHS-Office of Operations Coordination, (5) DHS-Transportation

Security Administration, (6) DHS-U.S. Citizenship and Immigration Services, (7) DHS-United

States Secret Service, (8) DOD-Defense Intelligence Agency, and (9) DOJ-Criminal Division;

and (10) DHS-CBP. See ECF No. 41.


Criminal Division, DOJ-National Security Division, DOD-United States Army, DOD-Defense
Intelligence Agency, CIA, and DOS.


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       Plaintiffs, however, have raised questions regarding the responses of the following

agencies: (1) DOD-Department of Army, (2) CIA, (3) DHS-HQ, DHS-ICE, (4) DHS-NSD, and

(5) FBI. The parties are continuing to confer in attempt to resolve and/or narrow the remaining

issues. The parties propose to file another status report in 60 days.


Dated: August 9, 2021

  /s/ Jeffrey Light           .                    BRIAN M. BOYNTON
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